        Case 4:18-cv-01230 Document 1 Filed on 04/19/18 in TXSD Page 1 of 10



                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


 CHRISTINA M. JAMES,
                                                    CIVIL COMPLAINT
 Plaintiff,

 v.                                                 CASE NO. 4:18-cv-001230

 CONVERGENT OUTSOURCING, INC.
                                                    DEMAND FOR JURY TRIAL
 Defendant.


                                         COMPLAINT

        NOW COMES Christina M. James (“Plaintiff”), by and through her attorneys, Sulaiman

Law Group, Ltd. (“Sulaiman”), complaining of Convergent Outsourcing, Inc. (“Defendant”) as

follows:

                                    NATURE OF THE ACTION

      1. Plaintiff brings this action seeking redress for violations of the Fair Debt Collection

Practices Act (“FDCPA”) pursuant to 15 U.S.C. §1692, and violations of the Telephone Consumer

Protection Act (“TCPA”) pursuant to 47 U.S.C. §227, the Texas Debt Collection Act (“TDCA”)

under Tex. Fin. Code Ann. §392 et seq.

                                    JURISDICTION AND VENUE

      2. Subject matter jurisdiction is conferred upon this Court by the FDCPA, TCPA, and 28

U.S.C. §§1331 and 1337, as the action arises under the laws of the United States.

      3. The Court has supplemental jurisdiction over the state law TDCA claim under 28 U.S.C.

§1367.




                                                1
         Case 4:18-cv-01230 Document 1 Filed on 04/19/18 in TXSD Page 2 of 10



      4. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant is authorized to

conduct business in the Southern District of Texas and maintains significant contacts within the

Southern District of Texas.

                                                     PARTIES

      5. Plaintiff is a natural person over 18-years-of-age who is a “consumer” as the term is defined

by 15 U.S.C §1692a(3), and is a “person” as defined by 47 U.S.C. §153(39).

      6. Defendant is a Washington corporation with its principal place of business located at 800

SW 39th Street, Renton, Washington, 98057. Defendant conducts business in Texas and is

registered with the Texas Secretary of State under Business ID 0013805406. Defendant uses the

mail and telephone for the principal purpose of collecting debts from consumers on a nationwide

basis, including consumers in the State of Texas. Defendant engages in the business of collecting

or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed

or due to others as its website identifies it as a debt collector. According to Defendant’s website,

Defendant states that it has been: “In business since 1950, Convergent is one of America’s leading

collections agencies.”1

                                   FACTS SUPPORTING CAUSES OF ACTION

      7. On or about November 2017, Plaintiff began receiving unknown calls to her cellular phone

from (877) 317-1200.

      8. Bewildered, Plaintiff called (877) 317-1200 and spoke to a representative of Defendant,

who claimed Plaintiff has defaulted and owes $695.00 (“subject debt’) to PayPal, Inc. (“PayPal”).

      9. At the time the subject debt was incurred, Plaintiff provided her old cellular phone number.

      10. In 2017, Plaintiff changed her cellular phone number.to (682) XXX-6686.



1
    https://www.convergentusa.com/outsourcing/ (last visited March 28, 2018).

                                                          2
      Case 4:18-cv-01230 Document 1 Filed on 04/19/18 in TXSD Page 3 of 10



    11. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 6686. Plaintiff is and always has been financially

responsible for this cellular phone and its services.

    12. Plaintiff never provider her new cellular telephone number to Defendant or otherwise

expressly consented to Defendant’s phone calls.2

    14. In February 2018, Plaintiff spoke to a live representative of Defendant in which they

repeatedly demanded Plaintiff to make a payment on the subject debt. Plaintiff responded by

requesting that the Defendant cease placing calls to her cellular phone.

    15. Plaintiff answered no less than 20 calls from Defendant.

    16. Defendant placed or caused to be placed an average of 2 phone calls per week from

November 2017 through the present day, without Plaintiff’s prior express consent, in an attempt

to collect on the subject debt.

    17. In total, Defendant placed or caused to be placed no less than 41 harassing phone calls to

Plaintiff’s cellular telephone from November 2017 through the present day, with calls taking place

several times in one day, and on the weekends.

    18. In the calls that Plaintiff spoke to a live representative of Defendant, Plaintiff hears what

sounds to be call center noise in the background of Defendant’s calls.

    19. Upon information and belief, Defendant placed its calls to Plaintiff’s cellular telephone

using a predictive dialing system, an automated telephone dialing system that is commonly used

in the debt collection industry to collect defaulted debts.




2
 Upon information and belief, Defendant obtained Plaintiff’s cellular telephone number ending in 6686 through a
method known as “call capture,” a telephone-based technology that captures personal data from persons who place
calls to a properly provisioned number or through a method known as “skip-tracing,” whereby debt collectors obtain
phone numbers by conducting inquiries upon consumer credit reports or other public record searches.

                                                        3
      Case 4:18-cv-01230 Document 1 Filed on 04/19/18 in TXSD Page 4 of 10



                                             Damages

   20. Defendant’s harassing phone calls have severely disrupted Plaintiff’s daily life and general

well-being.

   21. Defendant’s phone harassment campaign and illegal collection activities have caused

Plaintiff actual harm, including but not limited to, invasion of privacy, nuisance, intrusion upon

and occupation of Plaintiff’s cellular telephone capacity, wasting Plaintiff’s time, the increased

risk of personal injury resulting from the distraction caused by the phone calls, aggravation that

accompanies unsolicited telephone calls, mental anguish, loss of concentration, diminished value

and utility of telephone equipment and telephone subscription services, the loss of battery charge,

and the per-kilowatt electricity costs required to recharge her cellular telephone as a result of

increased usage of her telephone services.

   22. In addition, each time Defendant placed a telephone call to Plaintiff; Defendant occupied

Plaintiff’s telephone number such that Plaintiff was unable to receive other phone calls.

   23. Concerned about the violations of her rights and invasion of her privacy, Plaintiff was

forced to seek the assistance of counsel to file this action to compel Defendant to cease its unlawful

conduct.

           COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   24. Plaintiff restates and re-alleges paragraphs 1 through 23 as though fully set forth herein.

   25. Defendant repeatedly placed or caused to be placed frequent non-emergency calls,

including but not limited to the calls referenced above, to Plaintiff’s cellular telephone using an

automatic telephone dialing system (“ATDS”) without her prior consent in violation of 47 U.S.C.

§227 (b)(1)(A)(iii).




                                                  4
      Case 4:18-cv-01230 Document 1 Filed on 04/19/18 in TXSD Page 5 of 10



   26. The TCPA defines ATDS as “equipment which has the capacity...to store or produce

telephone numbers to be called, using a random or sequential number generator, and to dial such

numbers.” 47 U.S.C. §227(a)(1).

   27. Based on the lack of prompt human response during the phone calls in which Plaintiff

answered, Defendant, used a predictive dialing system to place calls to Plaintiff’s cellular

telephone.

   28. “A predictive dialer is equipment that dials numbers and, when certain computer software

is attached, also assists [caller] in predicting when an [agent] will be available to take calls. The

hardware, when paired with certain software, has the capacity to store or produce numbers and

dial those numbers at random, in sequential order, or from a database of numbers.” Meyer v.

Portfolio Recovery Associates, LLC, 707 F.3d 1036, 1043 (9th Cir. 2012).

   29. The Federal Communications Commission (“FCC”) has determined that predictive dialing

systems are a form of an automatic telephone dialing system. Id.

   30. At no time did Plaintiff provide her cellular number to Defendant or otherwise expressly

consented to receiving phone calls to her cellular phone from Defendant.

   31. Defendant violated the TCPA by placing no less than 41 harassing phone calls to Plaintiff’s

cellular telephone from November 2017 through the present day, using an ATDS without her prior

consent.

   32. Any prior consent, if any, was revoked by when Plaintiff changed her cellular phone

number and again with Plaintiff’s verbal revocation.

   33. As pled above, Plaintiff was severely harmed by Defendant’s collection calls to her cellular

phone.




                                                 5
      Case 4:18-cv-01230 Document 1 Filed on 04/19/18 in TXSD Page 6 of 10



   34. Upon information and belief, Defendant has no system in place to document and archive

whether it has prior express consent to contact consumers on their cellular phones.

   35. Upon information and belief, Defendant knew its collection practices were in violation of

the TCPA, yet continued to employ them to increase profits at Plaintiff’s expense.

   36. Defendant, through its agents, representatives, subsidiaries, employees, vendors, and

contractors acting within the scope of their authority acted intentionally in violation of 47 U.S.C.

§227(b)(1)(A)(iii) by contacting Plaintiff on her cellular phone without prior express consent to

do so.

   37. Pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff for a minimum of

$500 per call. Moreover, pursuant to 47 U.S.C. §227(b)(3)(C), Defendant’s willful and knowing

violations of the TCPA should trigger this Honorable Court’s ability to triple the damages to which

Plaintiff is otherwise entitled to under 47 U.S.C. §227(b)(3)(C).

WHEREFORE, Plaintiff, CHRISTINA M. JAMES, respectfully requests that this Honorable
Court enter judgment in her favor as follows:
       a. Declaring that the practices complained of herein are unlawful and violate the
           aforementioned statutes and regulations;

         b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
            pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

         c. Enjoining Defendant from contacting Plaintiff; and

         d. Awarding any other relief as this Honorable Court deems just and appropriate.

             COUNT II – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   38. Plaintiff restates and re-alleges paragraphs 1 through 23 as though fully set forth herein.

   39. Plaintiff is a “consumer” as defined by FDCPA §1692a(3).

   40. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be owed or due to another for personal, family, or household purposes.


                                                 6
      Case 4:18-cv-01230 Document 1 Filed on 04/19/18 in TXSD Page 7 of 10



   41. Defendant is a “debt collector” as defined by §1692a(6) because it’s a business, the

principal purpose of which, is the collection of defaulted debts and uses the mail and/or the

telephones to collect delinquent accounts allegedly owed to a third party.

   42. Moreover, Defendant is a “debt collector” because it acquired rights to the subject debt

after it was in default. 15 U.S.C. §1692a(6).

   43. Defendant used the phone to attempt to collect the subject debt and, as such, engaged in

“communications” as defined in FDCPA §1692a(2).

   44. Defendant’s communications to Plaintiff were made in connection with the collection of

the subject debt.

   45. Defendant violated 15 U.S.C. §§1692c(a)(1), d, and d(5), through its unlawful debt

collection practices.

       a. Violations of FDCPA § 1692c

   46. Defendant violated §1692c(a)(1) when it continuously called Plaintiff without her prior

consent. Upon information and belief, Defendant “skip-traced” Plaintiff’s new cellular number

and began its onslaught of calling Plaintiff without her prior expressed consent. This repeated

behavior of systematically calling Plaintiff’s cellular phone over and over without her consent was

harassing and abusive. Defendant continued its attack of phone calls with the specific goal of

oppressing and abusing Plaintiff into paying the subject debt.

   47. Furthermore, Defendant has relentlessly called Plaintiff on no less than 41 occasions from

November 2017 to the present. The nature and frequency of calls shows that Defendant willfully

ignored Plaintiff’s pleas with the goal of annoying and harassing her into submission.




                                                7
      Case 4:18-cv-01230 Document 1 Filed on 04/19/18 in TXSD Page 8 of 10



    48. Notwithstanding Defendant’s lack of prior consent, Defendant was notified by Plaintiff

that its calls were not welcomed. As such, Defendant knew that its conduct was inconvenient and

distressing to her.

        b. Violations of FDCPA § 1692d

    49. Defendant violated §1692d by engaging in abusive, harassing, and oppressive conduct by

relentlessly calling Plaintiff’s cellular phone seeking immediate payment on the subject debt.

    50. Defendant violated §1692d(5) by causing Plaintiff’s cellular phone to ring repeatedly and

continuously in an attempt to engage Plaintiff in conversations regarding the collection of the

subject debt with the intent to annoy, abuse, or harass Plaintiff. Specifically, Defendant placed or

caused to be placed no less than 41 harassing phone calls to Plaintiff’s cellular telephone from

November 2017 through the present day, using an ATDS without her prior consent, with calls

taking place several times in one day, and up to at least 2 times per week.

    51. As an experienced debt collector, Defendant knew or should have known the ramifications

of collecting on a debt through incessant harassing phone calls to the cellular phones of consumers

without their prior consent.

    52. Upon information and belief, Defendant systematically attempts to collect debts through

harassing conduct and has no procedures in place to assure compliance with the FDCPA.

    53. As stated above, Plaintiff was severely harmed by Defendant’s conduct.




                                                 8
     Case 4:18-cv-01230 Document 1 Filed on 04/19/18 in TXSD Page 9 of 10



WHEREFORE, Plaintiff CHRISTINA M. JAMES respectfully requests that this Honorable
Court enter judgment in her favor as follows:
       a. Declare that the practices complained of herein are unlawful and violate the
          aforementioned statute;

       b. Award Plaintiff statutory and actual damages, in an amount to be determined at trial,
          for the underlying FDCPA violations;

       c. Award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
          §1692k; and

       d. Award any other relief as the Honorable Court deems just and proper.

                 COUNT III – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   51. Plaintiff restates and re-alleges paragraphs 1 through 23 as though fully set forth herein.

   52. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

   53. Defendant is a “debt collector” and a “third party debt collector” as defined by Tex. Fin.

Code Ann. § 392.001(6) and (7).

   54. The subject debt is a “consumer debt” as defined by Tex. Fin. Code Ann. § 392.001(2) as

it is an obligation, or alleged obligation, arising from a transaction for personal, family, or

household purposes.

           a. Violations of TDCA § 392.302

   55. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.302(4), states that “a debt collector

may not oppress, harass, or abuse a person by causing a telephone to ring repeatedly or

continuously, or making repeated or continuous telephone calls, with the intent to harass a person

at the called number.”

   56. Defendant violated the TDCA when it continued to call Plaintiff’s cellular phone at least

41 times without Plaintiff’s prior consent. The repeated contacts were made with the hope that




                                                 9
     Case 4:18-cv-01230 Document 1 Filed on 04/19/18 in TXSD Page 10 of 10



Plaintiff would succumb to the harassing behavior and ultimately make a payment. The nature

and volume of phone calls would naturally cause an individual to feel oppressed.

WHEREFORE, Plaintiff, CHRISTINA M. JAMES, respectfully requests that this Honorable
Court enter judgment in her favor as follows:

       a. Declare that the practices complained of herein are unlawful and violate the
          aforementioned statute;

       b. Awarding Plaintiff statutory and actual damages, in an amount to be determined at trial,
          for the underlying TDCA violations;

       c. Additionally, awarding Plaintiff actual damages, in an amount to be determined at trial,
          as provided under Tex. Fin. Code Ann. § 392.403(a)(2);

       d. Additionally, awarding Plaintiff injunctive relief pursuant to Tex. Fin. Code Ann. §
          392.43(a)(1);

       e. Additionally, awarding Plaintiff costs and reasonable attorney fees as provided under
          Tex. Fin. Code Ann. § 392.403(b);

       f. Award any other relief as this Honorable Court deems just and proper.

Plaintiff demands trial by jury.


Dated: April 19, 2018                       Respectfully Submitted,



/s/ Marwan R. Daher                                 /s/ Omar T. Sulaiman
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                                               10
